                    Case 23-11971-SMG                  Doc 7   Filed 03/28/23   Page 1 of 1


                              United States Bankruptcy Court
                                Southern Di.strict of Florida


In re                                                                       Case n~.2   :?-- )191 /
if'u,111/1t-vl3/adfh;uvfKd?/7~
-:/@19{/i« :jrfMLq; 1J,i#JJ, ·                                              Ch~pter   1
                                               Debtor 1

           Last four digits of SSN or !TIN.   l./1(f

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                                               Oebtor2                                                    ~




           Last four digits of SSN or !TIN _ __
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        .M,~,4Mfflt,/4~dv(~~-




Date:   (R3/2!/;Jo:J3               Signature:      {J:~ ~~ ~ .
Date: _ _ __                        Signature: _ _ _ _ _ _ _ _ _ _ _ _ __
